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                 Exhibit 26
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                                                                 PRELIMINARY INJUNCTION
                                                                        HEARING

                                                                       JX-145
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